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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

----------------------------------------------------------------
                                                          X
FARA D’ANGELO,                                            :
                                                          :      Case No. 3:08-CV-1548(JCH)
                          Plaintiff,                      :
                                                          :
                 v.                                       :
                                                          :
                                                          :
WORLD WRESTLING ENTERTAINMENT, :
INC.,                                                     :      APRIL 19, 2010
                                   Defendant.             :
                                                          :
                                                          X
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                   MEMORANDUM OF LAW IN SUPPORT OF
               DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Defendant, World Wrestling Entertainment, Inc. (“WWE”), pursuant to Fed. R. Civ.

Proc. 56, hereby respectfully submits this Memorandum of Law in Support of its Motion for

Summary Judgment dismissing the Amended Complaint of Fara D’Angelo (“Plaintiff” or

“D’Angelo”) in its entirety.

                                I.     PRELIMINARY STATEMENT

       Plaintiff, a former Global Licensing Coordinator employed by the WWE, brings this

action alleging that she was subjected to a sexually hostile work environment by her former

supervisor, Alex Romer, and that based on this conduct, she was constructively discharged from

employment in violation of Title VII of the Civil Rights Act of 1964, as amended 42 U.S.C.

§§2000e et seq. (“Title VII”).       As set forth in detail herein, even assuming D’Angelo’s

harassment allegations against Romer are viewed in a light most favorable to her, the conduct

complained of was not sufficiently severe nor pervasive in nature to give rise to an actionable

hostile environment sexual harassment claim. Alternatively, even if the subject conduct is


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viewed as actionable, the claim should still be dismissed as a matter of law because there was no

tangible employment action, WWE took prompt and corrective action to prevent further

harassment, and D’Angelo unreasonably failed to take advantage of these corrective measures.

       Likewise, D’Angelo cannot establish that she was constructively discharged as her

departure from the WWE was of her own volition. D’Angelo resigned to accept a position with

another employer for a higher salary, and cannot attribute this resignation to any deliberate act

on Defendant’s part, or to workplace conditions that could be viewed as so “intolerable” that she

was left with no other alternative but to resign.

                                           II.         FACTS

A.     Background

       Plaintiff was employed by the WWE as a Global Licensing Coordinator in its Stamford,

Connecticut headquarters from April 1, 2004 until May 15, 2006 when her resignation was

effective. (Exhibit A, WWE Offer of Employment, dated April 1, 2004; D’Angelo Dep. p. 23

(Plaintiff’s deposition transcript excerpts referred to herein are annexed hereto as Exhibit B)).

On the first day of her employment, D’Angelo was provided a copy of the WWE Equal

Employment Opportunity/Sexual Harassment Policy (Exhibit C) which set forth in detail the

WWE’s anti-discrimination and harassment policy, and outlined the procedures to lodge a

complaint. (Exhibit D, signed acknowledgement dated April 1, 2004; D’Angelo Dep. pp. 70-71,

73-74) D’Angelo was initially supervised by Alex Romer, Director, International Licensing and

Joel Satin, Director of Home Video until supervision was assigned solely to Romer. (D’Angelo

Dep. pp. 92-93) At all times relevant to this action, Romer was physically located in and

conducted the majority of his work for WWE out of London, England, and D’Angelo was

located in and conducted the majority of her work for WWE in Stamford, Connecticut. (Exhibit

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A; D’Angelo Dep. p. 65)

B.      D’Angelo’s Allegations of Sexual Harassment

        Plaintiff claims that towards the end of 2004, she began being sexually harassed by

Romer. (D’Angelo Dep. p. 41) As Romer was located in London, the majority of the purported

harassment took the form of e-mails, instant messages (“IMs”), and phone calls. (Id. at p. 65-66)

D’Angelo claims that Romer would talk to her about personal matters, including asking her

about her sex life. Furthermore, she claims that frequent e-mail and instant message exchanges

were improper. Specifically, D’Angelo claims that: in an e-mail Romer told her she had a nice

“tail”; Romer would refer to her as “darling”, “precious1”, “special” and “Tinker Bell”; in an

instant message Romer told Plaintiff that he was naked; on one occasion Romer told Plaintiff

that he wanted to have sex with her and all she had to do was ask; Romer invited Plaintiff to

dinner on Valentine’s Day 2006; Romer gave her and Ipod; Romer gave Plaintiff $150 and a

note saying that he could not stand the thought of her running out of gas somewhere; Romer told

Plaintiff that the idea of her doing karate was “fun and sexy”; Romer invited her on a vacation;

and that Romer said he was helping her at work by “putting his dick on the line for her”.

(D’Angelo Dep. pp. 94-95, 99-101, 149-50; Amended Complaint at ¶¶27-32, 36-42, 58, 60, 61)

D’Angelo concedes that the “putting his dick on the line” comment was made by Romer in

reference to complaints that Romer received from Donna Goldsmith, his then superior, about

D’Angelo, and that D’Angelo perceived the comment to be an indication that Romer was

supporting D’Angelo, i.e. “going to bat for [her]” and attempting to get her promoted. (Id. at p.

95) Plaintiff focuses in particular on the alleged frequency of Romer’s contact with her, stating

1
  It should be noted that D’Angelo admitted that her ex-boyfriend used to call her “precious”. (D’Angelo Dep. p.
145) While she denied knowing where Romer got the idea to call her “precious” query whether Romer was psychic,
a great “guesser”, or whether it was D’Angelo herself who shared with Romer that she had been called “precious”
by a friend from her past. (Id.)
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it was constant. Plaintiff further alleged that Romer would contact other WWE employees to

locate her when he could not reach her, and that he would call her at all times of day or night,

including on several occasions while drunk. (Id. at p 101). It is undisputed that Romer had a

general reputation for being controlling, constantly contacting his subordinates. (Yamuder Dep.

pp. 62-63 (Yamuder deposition transcript excerpts referred to herein are annexed hereto as

Exhibit E); Affidavit of Kurt Schneider, sworn to on December 20, 2006, Exhibit F at ¶8:

“Indeed, Romer was known to think nothing of calling his reports and co-workers at all hours for

work related issues”; Affidavit of Joel Satin sworn to on December 21, 2006, Exhibit G at ¶6)

Thus, it bears repeating that the majority of the claimed “harassment” was conducted across the

Atlantic Ocean, via electronic and phone communications.

       However, equally noteworthy is D’Angelo’s obviously voluntary, unsolicited and

inexplicable participation in (and even her own frequent prompting of) this type of dialogue with

Romer. For example, on April 20, 2005, Romer sent D’Angelo an e-mail indicating that he was

watching Batista, a wrestling talent, doing an interview with Sky Italia. (Id. at p. 151). In

response, D’Angelo wrote “Oh, my goodness. Does he have his shirt on or off?” Romer

responded by calling her a tart and stated that Batista was wearing “a rather smart suit and shirt

on.” D’Angelo then responds “lol was a joke. Good visual.” (Id. at p. 152). On June 2, 2005,

D’Angelo sent Romer an e-mail indicating that she needed to find herself a rich husband so she

could retire early. (Id. at p. 143) Similarly, on July 22, 2005, D’Angelo forwarded Romer an e-

mail she received from an outside vendor calling her a star for some work she did in connection

with a wrestler’s tattoos. During the e-mail exchange, D’Angelo states that “stars like tattoos”

and that she “really should get [her] 3rd [tattoo] soon.” (Id. at 110-11) At the end of this e-mail

Romer states “thought you were being a naughty girl again” to which D’Angelo responded

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“never stopped.” (D’Angelo Dep. pp. 112-13) Along those same lines, on December 20, 2005,

D’Angelo sent Romer an e-mail indicating that she only had $36 in her checking account, and in

response to Romer’s follow up question as to how she would be able to pay for her upcoming

personal trip to California responded “[w]ith my good looks” and ended the e-mail with a smiley

face. (Id. at p. 120) Similarly, on December 21, 2005, in response to an e-mail from Romer

about this same trip and referring to her lack of funds, “I take it it’s not exactly a girly trip”,

D’Angelo responded “[n]ever is”, clearly suggesting she would pick up men on the trip to pay

her way. (Id. at 124)

        Again, on February 16, 2006, Romer sent D’Angelo an e-mail complaining about a

meeting he was in and requesting that D’Angelo send him “gossip”. After some e-mails back

and forth Romer writes “Need lots of laughs to keep me going. It will be a long day”, to which

D’Angelo responds “[h]ow are those cookies? Care to make a special delivery to my office with

some treats?” (Id. at p. 134). D’Angelo also forwarded, unprompted, jokes containing sexual

images to Romer, including one joke which included an image of a man placing his penis into a

mammogram machine.            These are just a few examples of the types of e-mails exchanged

between D’Angelo and Romer in which D’Angelo is welcoming the dialogue, and even initiating

it. (Exhibit H, sample e-mails sent by D’Angelo during her employment; D’Angelo Dep.

pp. 109-35, 142-46, 150-53)            What becomes clear from these e-mails is that what D’Angelo

describes as a hostile work environment perpetrated by Romer was actually a mutually flirtatious

environment wherein D’Angelo encouraged and actively participated in the conduct she now

conveniently claims was offensive2.


2
 It should also be noted that D’Angelo exchanged e-mails with a fellow co-worker and attempted to set him up with
one of her friends. In connection with this e-mail conversation D’Angelo noted that her friend “doesn’t put out ...
she’s a prude… I don’t think u will be pleased.” (Exhibit H; D’Angelo Dep. pp. 147-48) Thus further evincing the
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         When asked to explain her participatory conduct, D’Angelo agreed that some of the

comments she made in e-mails, including a reference that she never stopped being

“naughty,” could be perceived as flirtatious, and that she regretted her own complicity.

(D’Angelo Dep. pp. 112-13, 128: “There is some things [sic] I wish I, looking back, didn’t

say … Because I probably shouldn’t have sent him a picture of me, knowing the fact that he

– how he felt towards me and how he often made comments about my appearance and the

things like that ….”) Indeed, D’Angelo testified “do I wish I didn’t do or say half the things

you are showing me? Of course, but I was, you know just trying to keep things calm and

not stir trouble between him and I so that I can continue working for WWE and not have

him kind of make this situation worse by questioning me, what’s wrong.” (Id. at pp. 135-

36). D’Angelo consistently testified that she sent these types of e-mails so that she would

be viewed as a “team player” and not “stiff”, so that she could fit in with her boss and have

a “fun/witty relationship”. (D’Angelo Dep. pp. 130, 133, 153) At the same time, D’Angelo

failed to offer any rational explanation as to why refraining from such unsolicited dialogue

would stir up any “trouble” between her and Romer, or why she later did not provide any of

them to Human Resources 3.

        Aside from the electronic communications, D’Angelo claims that during certain business

trips, Romer inappropriately “touched” her.                   With respect to this form of purported

“harassment”, D’Angelo concedes that Romer and she were together during three or four

business trips, and a few times when Romer was in Stamford, Connecticut for WWE business.

(D’Angelo Dep. pp. 65-66, 98-99) Specifically, with respect to the allegations of “touchings”,



fact that conversations of a sexual nature at work are not offensive to D’Angelo.
3
  It is noteworthy that D’Angelo agreed that Romer never suggested she would be fired if she did not engage in these
types of conversations. (D’Angelo Dep. p. 149-50)
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D’Angelo claims that Romer once caressed her face, twice pet her hair, two or three times

touched her waist, and put his arm around her and held her close multiple times . (Id. at pp. 101-

04) Plaintiff also claims that during business dinners Romer would sit close to her, put his hand

on her hand and that the dinner “felt” more like a date than a business dinner. (Id. p. at 104)

D’Angelo further claims that Romer always wanted to spend time with her, and often pressured

her to have drinks with him, so that they “could get to know each other and that kind of thing.”

(Id. at p. 106).

        On one occasion, during a business trip, D’Angelo was in a hotel lounge with WWE

talent (wrestlers and other actors). Plaintiff claims that Romer put his arm around her shoulders,

pulled her out of the bar and told her she should not be there, at that hour, with the talent.

(D’Angelo Dep. pp. 97, 203-04) D’Angelo asserts she was offended by this conduct and told

Romer not to touch her. (Id. at 203-04) D’Angelo further claims this incident was witnessed by

Satin. (Id. at pp. 203-04) However, at the same time, it is noteworthy that D’Angelo admits she

had previously been informed that other WWE employees, including Donna Goldsmith, Romer’s

direct supervisor, expressed concern that D’Angelo was getting physically “too close” with the

talent, giving the impression she was being flirtatious. (Id. at pp. 96-97, 137-41) Indeed, Romer

admittedly expressed his own concern to D’Angelo that others would not take her seriously if

they perceived her in that light. (Id. at pp. 139-41; Exhibit I, e-mail to Danielle Fisher and John

Laurinaitis, dated January 30, 2006) D’Angelo claims that after this incident, she went out to

dinner with Satin and Romer, and she did not say a word during the dinner. She claims that she

went to the bathroom and started crying, and when she returned to the table Satin asked her if she

was okay because he allegedly “saw her expression” and “could tell that she had been crying” or

was upset. D’Angelo did not respond to Satin, clearly leaving Satin to decide that his perception

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was incorrect, or was unrelated to anything happening at that dinner. (Id. at pp. 203-04)

       The last alleged problematic “touching” purportedly occurred during a European tour in

April 2006. D’Angelo claims that she was again at a bar with Romer, Satin, and Kurt Schneider,

Executive Vice President of Marketing (query why she would even attend a non-obligatory

social drinking gathering after the first alleged incident in a hotel bar). (D’Angelo Dep. pp. 104-

05, 184-85) D’Angelo claims that Romer was attempting “to make sure that [she] had enough

drinks, so you know, – wanting to make sure that [she] was drinking and being part of the team.”

(Id. at p. 187) D’Angelo concedes that Schneider and Satin were also drinking. (Id.) Towards

the end of the evening, Satin and Schneider proceeded to get up to leave, and she attempted to

follow them. (D’Angelo Dep. pp. 186-87, 189) D’Angelo claims that Romer “grabbed” her arm

and attempted to pull her back in order to prevent her from leaving the table, as he did not want

her to leave yet. (Id.) D’Angelo allegedly resisted Romer’s efforts and proceeded to follow

Satin and Schneider into the hotel elevator. (Id. at pp. 189-90) D’Angelo claims that Romer

started to follow them, but then did not. (Id. at 189-90) Thereafter, D’Angelo, Satin and

Schneider rode together in the elevator. (Id. at 190).

       Satin and Schneider allegedly asked D’Angelo “what was that about?” to which she

replied “[t]hat’s Alex. This is how he acts.” (Id. at p. 191) The elevator then arrived at Satin’s

floor and he exited the elevator. (Id. at p. 192) D’Angelo and Schneider then took the elevator

to Schneider’s floor where they continued the conversation. (Id.) According to D’Angelo,

Schneider asked her why Romer was “touching her like that”, and she responded to the effect

that this “is what [she has] been going through”. (Id. at p. 192) Schneider allegedly thereafter

inquired as to what D’Angelo “was doing about that”, to which D’Angelo replied that she had a

new job offer at a paint company. (Id. at pp. 192-93, 200-01) Schneider inquired as to whether

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this was the best career move for her and informed her that he thought she had a better career

path at the WWE. D’Angelo informed Schneider that “it’s what I have to do in order to get

ahead in my career and succeed because working for [Romer] is not getting better and I am not

going anywhere” (emphasis added), and thus, leaving was the best choice for her. Nothing more

was said, nor did D’Angelo specify the factual bases for why “working for [Romer was] not

getting any better” (Id. at. pp. 192-93, 199-201; Exhibit F at ¶5:“After Mr. Satin got out of the

elevator, Ms. D’Angelo informed me that she had a new job offer at a paint company. She said it

was a better opportunity and was closer to home. I believed that her mind was made up to leave

and only cautioned her that taking a job with a paint company may preclude her from finding

work in the entertainment field in the future.”) D’Angelo’s focus was clearly on the perceived

lack of advancement working with Romer.

       Upon the conclusion of her conversation with Schneider, D’Angelo got back in the

elevator and went to her floor to retire for the evening. (D’Angelo Dep. pp. 105-06) According

to D’Angelo, when she got off the elevator, Romer was waiting for her on her floor, and inquired

why it had taken so long to get to her floor and what she had discussed with Schneider. (Id.)

D’Angelo claims that Romer asked to come to her room to discuss this further. (Id.) D’Angelo

refused and went back to her room alone. (Id. at p. 106) D’Angelo claims that at the conclusion

of this same trip, Romer hugged her closely and attempted to kiss her. She claimed she resisted

these efforts and went back to her room for the evening. D’Angelo insists that that she feared

Romer would attempt to enter her room, and thus, went to the airport in the middle of the night

to await her return flight home. (D’Angelo Dep. p. 103) Of particular note, D’Angelo had

already obtained an alternative job offer outside of WWE by the time this alleged series of

incidents had occurred during the April 2006 tour. (Job Offer from Sherwin Williams, Exhibit J;

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D’Angelo Dep. pp. 24, 193, 199)

       A plain reading of the Plaintiff’s allegations show that electronic and verbal

communications, in addition to these isolated incidents of “touchings”, comprise the sum total of

what D’Angelo claims created the actionable, sexually hostile working environment. (D’Angelo

Dep. pp. 94-95, 99-105, 184-201, 210-14; Amended Complaint ¶¶27-32, 36-42, 58, 60, 61)

                    C. Plaintiff Did Not Complain about Alleged Harassment

       Plaintiff concedes that despite being provided a copy of WWE’s sexual harassment

policy, which included a complaint procedure, she did not file a complaint of sexual

harassment against Romer during her employment, nor did she ask anyone at WWE to file a

complaint on her behalf.      (D’Angelo Dep. pp. 70-71, 78-79, 107; Exhibit D, signed

acknowledgement of receipt of policy and complaint procedure) At the same time, however,

Plaintiff asserts that that other employees of WWE were aware of the harassment;

specifically Bernadette Hawks, Joel Satin, Kurt Schneider, Michael Archer, Lisa Richards,

and Peter Clifford, (Id. at pp. 159-61), in an attempt to excuse her admitted failure to utilize

a clearly articulated and known internal complaint procedure.

       More specifically, Plaintiff claims the following incidents should have placed WWE

on notice she was being sexually harassed by Romer:

        In June of 2005, Bernadette Hawks, a non-managerial employee, saw Romer touch

D’Angelo on her lower waist. (D’Angelo Dep. pp. 210-11) Hawks told Archer, Senior

Director of Quality Assurance and Hawks’ then supervisor, that she had seen Romer touch

D’Angelo’s lower waist, which, according to Archer, Hawks deemed “troublesome”. (Id.;

see also Affidavit of Michael Archer, sworn to on December 21, 2006, Exhibit K at ¶4)

Archer approached D’Angelo regarding Hawks’ observations. (Id. at p. 211; Exhibit K at

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¶4)   D’Angelo confirmed to Archer that Romer had touched her lower waist.                              Archer

“offered to punch [Romer’s] lights out . . . He was kind of joking acting like a tough guy,

like, you know, do you want me to punch his lights out for you kind of thing”, giving the

clear impression that Archer thought this was a one time occurrence and not an ongoing

problem. (Id. at p. 211) Archer also offered to talk to Romer, but D’Angelo replied that

“[she] did not want him to talk to Alex about what happened”, thus confirming for Archer

that the alleged incident was not particularly troublesome. (D’Angelo Dep. pp. 212-13; see

also Exhibit K at ¶5: “I followed up directly with Ms. D’Angelo as to Ms. Hawks’

observations and concerns. I initiated the conversation because I wanted to help. Ms.

D’Angelo assured me that there was no problem to report. I emphasized to Ms. D’Angelo

that the matter would be reported to Human Resources, or to Romer’s supervisor Donna

Goldsmith, if she had any concern whatsoever. Ms. D’Angelo unequivocally assured me

everything was fine, and there was no situation to report.”)(emphasis added) 4

        D’Angelo claims that, during this same conversation, she informed Archer that

Romer was “constantly calling [her], harassing [her], stalking [her]”, and was controlling,

obsessive and a “stalker.” (D’Angelo Dep. pp. 213-14.) Yet, D’Angelo concedes that she

never told Archer that Romer was pressuring her sexually, or otherwise that the meaning of

“harassing” or “stalking” had any meaning other than the one consistent with Romer’s

general reputation as controlling and “stalking” with subordinates. Nor did D’Angelo relay

any other incidents of touching. (Id.) D’Angelo never approached Archer again about

Romer. (Id. at pp. 215-16)

         D’Angelo claims she told Schneider on a few occasions that Romer was

4
  Even complaints regarding troublesome managerial styles, wholly unrelated to sexual harassment, could be
reported to and addressed by the Human Resources department at WWE. (Exhibit C)
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“controlling” and that she was “unhappy” working with Romer. (D’Angelo Dep. pp. 181-

82) D’Angelo concedes that she did not tell Schneider that Romer was sexually harassing

her, that Romer was pressuring her sexually, that Romer was calling her “sexy” or

“precious,” or commenting about her body. (D’Angelo Dep. pp. 183-85). D’Angelo claims

that Schneider “would often make comments to [her], why or how can you work for

[Romer]? And you know trying to get [her] to talk more about it”, and that she would not

talk more because “[she] didn’t really want everybody to know.” (Id. at p. 188) In such a

way, from her own mouth, D’Angelo admits that she deliberately withheld information from

anyone at WWE, including Schneider, which would lead them to surmise that anything other

than the perceived micromanaging style of Romer was at work. Finally, D’Angelo claims

that in November 2005, Schneider saw on one occasion that Romer was “always so close to

[her] and [Schneider] probably thought that was kind of weird So that’s why he is saying

your boss, you know is crazy, he is out of his mind.” (Id. at p. 196) Again, D’Angelo does

not, because she cannot, explain why such vague and generic conversations and

observations were sufficient to put WWE on notice that Romer had been sexually harassing

her. (D’Angelo Dep. pp. 192-93; 196, 217) Indeed, when pressed to explain how the

incident in the bar in April 2006 provided Schneider with this knowledge of sexual

harassment, as opposed to Romer generally acting with a controlling management style,

D’Angelo simply stated “[i]t’s common knowledge that a boss should not be touching a

female employee.” (Id. at p. 193) In short, D’Angelo had nothing else to offer.

       D’Angelo claims that one evening she approached Satin and informed him that she

was “frustrated” with Romer as Romer was constantly asking her personal questions while

she was trying to get work done. (D’Angelo Dep. at pp. 206, 228) Satin suggested she

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threaten Romer that she would report this matter to Human Resources. (Id. at pp. 206-07,

228-29). D’Angelo concedes that Satin also offered to speak to Romer directly, but she

declined this offer, indicating instead that she would speak with Romer herself. (Id. at p.

228) D’Angelo could not recall that she ever told Satin the “personal” questions meant

questions about her sex life or any other matter of a sexual nature. She further could not

recall ever telling Satin that Romer was complimenting her body, or about any other

potentially sexually harassing remarks. (Id. at pp. 207-09)

       D’Angelo next alleges that she approached another WWE employee, Lisa Richards,

Director of Marketing, “as a friend” for career advice. D’Angelo told Richards she did not

like the way Romer talked to her, nor his constant calls (which, again was consistent with

Romer’s general reputation as being a micromanager, or even a “stalker” with respect to his

demands on subordinates) (Exhibit F at ¶8; Exhibit G at ¶6). D’Angelo also claims to have

mentioned that Romer had called her when he was drunk. (D’Angelo Dep. pp. 163-65:“I

told her details of how my boss was talking to me because I was looking for career advice

from her on how I could handle the situation. And I looked to her because she was older

than me and she had more work experience.”) When asked at her deposition whether she

had raised any claims of sexual harassment to Richards, D’Angelo responded ambiguously

that she might have to told her that Romer said she “looked sexy in a karate suit”, and that

she had “nice legs”, but had no specific recollection she made these statements at all, or any

similar ones. (D’Angelo Dep. pp. 165-66). D’Angelo claims that Richards “understood the

situation to be not healthy so that’s when she started saying, well, maybe you should talk to

[Clifford] about a possible position in my department.” (Id. at p. 165)        Tellingly, the

minimal details of the conversation that D’Angelo could remember are consistent with the

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affidavit submitted by Richards to the Connecticut Commission on Human Rights and

Opportunities wherein Richards averred: “D’Angelo never mentioned any conduct by Romer

to me that resembled sexual harassment during any discussion I had with her. Rather, the

only statements made to me by Ms. D’Angelo about Romer were that she did not like

working for him. Ms. D’Angelo also expressed to me that she was interested in any opening

in the Affiliate Sales and Marketing Department, because she was looking for a better

opportunity” (Affidavit of Lisa Richards, sworn to on December 20, 2006, Exhibit L, at ¶4.)

Given D’Angelo’s total lack of any other recollection, this statement by Richards cannot be

disputed.

       D’Angelo thereafter interviewed with Peter Clifford for a position in his department.

During this interview, D’Angelo expressed to Clifford that she was unhappy working with

Romer; that Romer would be unhappy if he learned that she was interviewing for a different

position; that Romer was possessive and controlling; and that it was stressful working for

him. (D’Angelo Dep. pp. 162-63) Plaintiff did not allege that she told Clifford that Romer

was sexually harassing her, nor did she relay any facts on which such a perception could be

based. (Id. at p. 164). In short, the sum and substance of what D’Angelo claims she

conveyed to Clifford in no way suggested sexually harassing behavior. D’Angelo asserts

she did not pursue a position further in Clifford’s department because Human Resources

suggested Romer had plans for her advancement in the WWE, and thus, the better career

move would be to stay in her position (further begging the question of whether D’Angelo

could be viewed by any reasonable person as the victim of harassment, choosing to stay

subordinate to the “alleged harasser” to advance in her WWE career). (D’Angelo Dep. p.



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65).5

    Finally, Plaintiff claims that she was friendly with Sheryl Ann Yamuder, an attorney

who worked in WWE’s legal department. (D’Angelo Dep. at pp. 37, 217, 219) D’Angelo

claims that she told Yamuder Romer was “obsessed” with her, was constantly calling and

sending her e-mails and IMs. According to D’Angelo, in 2005, Yamuder remarked to her

that she thought Romer was “in love” with D’Angelo. (Id. at pp. 172, 217) She further

claims that Yamuder was with her on one occasion when she received a call from Romer

when he was drunk, and she told Yamuder this was not the first time Romer had called her

drunk. (Id. at p. 219) D’Angelo also claims that on one occasion when she was arriving late

to work, Romer contacted Yamuder, who allegedly told D’Angelo that Romer was “going

nuts.” (Id. at p. 219-20). D’Angelo conceded that the sum and substance of what Yamuder

knew in terms of affirmative conduct by Romer was “[Romer’s] IMs, constant calling and e-

mailing [and that] he would call [Yamuder] looking to have [her] paged.” (Id. at p. 220).

    Yamuder, when deposed, testified as to her perception, consistent with that of others at

WWE, that Romer had a reputation for constantly contacting his subordinates, was a

micromanager, and vehemently denied ever being provided with any information by

D’Angelo that suggested she was being sexually harassed.                 (Yamuder Dep. pp. 61-62:

stating that D’Angelo’s concerns about Romer were that “[h]e overcomunicated,

micromanaged. He put a lot of responsibility on her. He expected her to be responsive to

him more than she felt necessary”; see also Yamuder Dep at pp. 58-64, 105.) Consequently,

she presumed the conduct described by D’Angelo was consistent with that reputation, and


5
 Notably, D’Angelo conceded that she had actively sought at least one other promotion directly from Romer,
which would compel her to continue reporting to the alleged harasser. (D’Angelo Dep. at pp. 39-41, 62-63)

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nothing more. (Id. at pp. 58-64, 105)   Even if true, an observation about Romer “being in

love” did not automatically mean Romer was engaging in sexually harassing conduct.

       Yamuder denied being informed by D’Angelo, or otherwise witnessing or hearing

that Romer was interested in D’Angelo “sexually speaking”. Yamuder further denied any

knowledge of any accusation that Romer touched D’Angelo in any improper way, or that

Romer called D’Angelo names such as “precious” or “Tinker bell.” (Id. at pp. 62-64).

       D’Angelo concedes that she never asked Yamuder to file a complaint with Human

Resources on her behalf.    (D’Angelo Dep. at pp. 79, 220)       Despite being an in-house

attorney, it is undisputed that Yamuder did not have the power to fire Romer or otherwise

make any changes to Romer’s employment (nor did she have any supervisory authority over

D’Angelo for that matter). Nor was Yamuder employed or expected by WWE to be a

designated recipient for complaints of sexual harassment. (Yamuder Dep. p. 103)

       When pressed for the reason she never followed the clearly articulated complaint

procedure at WWE, D’Angelo testified that she was afraid of retaliation. (D’Angelo Dep. at

p. 78) However, the sole, factual bases for this fear were: (1) an unnamed WWE employee

was allegedly sexually harassed and thereafter terminated. (Id. at pp. 79-81); (2) the absurd

claim of “common knowledge” that the CEO had sexually harassed a female wrestler,

gleaned from gossip on the Internet; (Id. at p. 81-83)(tellingly, D’Angelo does not even

contend that this unidentified wrestler complained about this alleged harassment and/or

endured retaliation because of that complaint); and (3) an allegation that Yamuder “went to

Human Resources with something that was going on with her [and that Yamuder] confided

in Human Resources and … they ended up using that against her with her boss” and that

Yamuder somehow discouraged her based upon this experience from complaining to Human

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Resources (D’Angelo Dep. p. 80).

       This so-called support for D’Angelo’s alleged fear of retaliation are patently

insufficient to excuse her failure to utilize the internal complaint procedure. The first two

are obviously insufficient, as they are borne of gossip, and D’Angelo could not even specify

the nature of any claimed retaliation. Indeed, with regard to the unnamed WWE employee,

D’Angelo testified that “it was just chatter that was going around the office. It was more

than one.   I have heard….”      (Id. at p. 80)   With respect to the allegation regarding

Yamuder’s experience, likewise, D’Angelo did not even know the exact nature of

Yamuder’s complaint.     (Id.)   Moreover, and critically important, it is undisputed that

Yamuder complained to Human Resources (and not regarding a sexual harassment

allegation, nor about Romer) months after D’Angelo resigned. Therefore, even if Yamuder

shared some perception of ill effects after her internal complaint, this shared perception

could never have been relied on by D’Angelo in deliberately failing to utilize Human

Resources, or in failing to complain to any manager at WWE specifically about sexual

harassment during her employment. (Affidavit of Danielle Fisher, sworn to on April 14,

2010, Exhibit M at ¶6)

D.     D’Angelo’s Resignation and Romer’s Termination

       On May 5, 2006, D’Angelo gave ten days notice of her resignation. (D’Angelo Dep.

p. 224) Shortly after giving notice, D’Angelo was approached by Goldsmith, then Executive

Vice President, Consumer Products. D’Angelo believed, without support therefore, that

Goldsmith had been informed by Yamuder “about the sexual harassment that I was telling her

about.” (D’Angelo Dep. pp. 221-23). However, a person with direct, first-hand knowledge

of the conversation between Goldsmith and Yamuder, Yamuder herself, testified as follows.

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       Approximately one week before D’Angelo’s notice of resignation, D’Angelo told

Yamuder about what was described by D’Angelo as two “negative interactions” between

D’Angelo and Romer during the April 2006 tour. (Yamuder Dep. pp. 69-80) Yamuder

could not remember the details of these “negative interactions” except to state that she

“remembered that it made [D’Angelo] uncomfortable.         I remember she was annoyed.”

(Yamuder Dep. pp. 70-72, 75, 79) Yamuder encouraged D’Angelo to report the incident to

Goldsmith or Human Resources.         (Id. at pp. 67-68)     Yamuder herself relayed this

conversation with D’Angelo to Goldsmith, who contacted Danielle Fisher, Senior Vice

President for Human Resources. Fisher then reached out to D’Angelo, who interestingly,

still had not contacted Human Resources or Goldsmith.

       It was during this meeting that, for the first time ever, D’Angelo provided copies of

Romer’s e-mails and details of the so-called “touching incidents” to anyone, a fact conceded

by Plaintiff herself. (D’Angelo Dep. pp. 220-23). Plaintiff further concedes that during this

discussion with Human Resources, while providing Ms. Fisher with copies of Romer’s

allegedly problematic e-mails to her, she failed to provide the WWE with e-mails from her

to Romer, thinking they were “irrelevant”. (Exhibit H; D’Angelo Dep. pp. 109-36, 141-46,

150-55). D’Angelo fails to explain how these e-mails are irrelevant, but the answer to this

mystery is all too clear; D’Angelo knew if Human Resources noted her participation, it

would appear as it was—mutual flirtation. (D’Angelo Dep. pp. 39-40, 63-64, 130, 132-33)

       WWE     conducted a complete investigation of D’Angelo’s allegations               by

interviewing D’Angelo, Romer, Yamuder, Satin and Schneider (D’Angelo failed to mention

other purported witnesses to HR). (D’Angelo Dep. pp. 222-24; Exhibit G at ¶7; Exhibit F

at ¶9. Prior to D’Angelo’s last day of employment, WWE concluded its investigation, and

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terminated Romer’s employment. D’Angelo was informed of Romer’s termination, also

before her last planned day of employment, and was asked to retract her resignation. As

D’Angelo further admitted, she was offered a promotion and a commensurate raise.

(D’Angelo Dep. pp. 83-84). D’Angelo declined the offer, and began employment with

Sherwin Williams with an annual salary of $70,000, which was approximately $20,000

more than she had been earning with WWE. (D’Angelo Dep. pp. 25, 84, 87). D’Angelo

told Fisher that she would never accept the promotion or raise offered by the WWE as

Sherwin Williams offered her a much higher salary. (Exhibit M at ¶5).

       Underscoring the fact that this higher salary was the actual reason she was leaving,

on May 16, 2006, D’Angelo’s last day of employment (and thus after she had already

conveyed her allegations about Romer to Human Resources), D’Angelo filled out an exit

interview form and inserted the reason for her leaving as “a better opportunity arose for me

to advance in my career” and the attraction for the new opportunity was “money, location.”

(Exit Interview, dated May 16, 2006, Exhibit N)         D’Angelo is currently employed by

Sherwin Williams and concedes that she has not suffered any lost wages-she is in fact

currently earning $90,000 annually, or $45,000 more per year than she had been earning

when she left WWE. (D’Angelo Dep. pp. 25, 32)

       A plain reading of the undisputed material facts, as well as the applicable judicial

precedent, reveals the absence of any genuine issues of material fact as to the Plaintiff’s

claims. Accordingly, Defendant respectfully requests that summary judgment be granted in

its favor as to the sole cause of action alleged in the Complaint.




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                                       III. ARGUMENT

                           The Standard On A Motion For Summary Judgment

        A moving party is entitled to summary judgment if the “pleadings, depositions, answers

to interrogatories and admissions on file, together with the affidavits, if any” demonstrate the

absence of a genuine issue of material fact. Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477

U.S. 317, 322-23 (1986); Holcomb v. Iona College, 521 F.3d 130, 137 (2d Cir. 2008). The

movant's burden is satisfied if it can point to an absence of evidence to support an essential

element of the non-moving party's claim. Goenaga v. March of Dimes Birth Defects Found., 51

F.3d 14, 18 (2d Cir. 1995); Vaden v. Connecticut, 557 F. Supp. 2d 279, 287 (D. Conn. 2008).

Defendants are entitled to judgment if a fair-minded jury could not return a verdict for the Plaintiff

on the evidence presented. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986).

“Even in the discrimination context, ... a plaintiff must provide more than conclusory allegations

to resist a motion for summary judgment, and show more than some metaphysical doubt as to the

material facts.” Chertkova v. Conn. Gen. Life Ins. Co., 92 F.3d 81, 92 (2d Cir. 1996).

A.            Plaintiff Cannot Prove Actionable Hostile Environment Sexual Harassment

        In Count One (the only Count) of the Amended Complaint, D’Angelo alleges hostile

environment sexual harassment by her supervisor Romer, in violation of Title VII. In support of

this cause of action, however, D’Angelo proffers only the factual allegations set forth above.

Even if all the above allegations are deemed true, D’Angelo’s claim of sexual harassment must

fail as a matter of law.

        i.      D’Angelo Cannot Satisfy Her Prima Facie Burden

        To establish a prima facie case of hostile work environment sexual harassment under

Title VII, Plaintiff must prove with competent evidence that she was subjected to unwelcome

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conduct because of her gender that was so extreme as to create an objective change in the terms

and conditions of her employment. Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75,

78-81 (1998); Harris v. Forklift Sys., Inc., 510 U.S. 17, 21 (1993) (citations omitted); Mormol

v. Costco Wholesale Corp., 364 F.3d 54, 58 (2d Cir. 2004). For the workplace to be deemed a

sexually hostile work environment:

               it must be both objectively and subjectively offensive, one that a
               reasonable person would find hostile or abusive, and one that the
               victim in fact did perceive to be so.... [Courts must] look [] at all the
               circumstances, 'including the frequency of the discriminatory
               conduct; its severity; whether it is physically threatening or
               humiliating or a mere offensive utterance; and whether it
               unreasonably interferes with an employee's work performance.

Faragher v. City of Boca Raton, 524 U.S. 775, 787-88 (1998) (citations omitted); Byrne v.

Telesector Res. Group, Inc., 2009 U.S. App. LEXIS 15493, at *12-13 (2d. Cir. July 14, 2009).

       Thus, in analyzing hostile work environment claims, courts must “filter out complaints

attacking the ordinary tribulations of the workplace....” Faragher, 524 U.S. at 788 (citation

omitted). “Title VII does not prohibit all verbal or physical harassment in the workplace; it is

directed only at ‘discriminat[ion]...because of...sex.’” Oncale, 523 U.S. at 102. Significantly,

“workplace harassment, even harassment between men and women, is [not] automatically

discrimination because of sex merely because the words used have sexual content or

connotations.     The critical issue...is whether members of one sex are exposed to

disadvantageous terms or conditions of employment to which members of the other sex are not

exposed.” Id. (citing Harris, 510 U.S. at 25). Plaintiff's claims here must therefore be

examined against these standards.

       In determining whether the atmosphere was sufficiently hostile, the Court must consider

the totality of circumstances. See Brennan v. Metropolitan Opera Ass'n, 192 F.3d 310, 319 (2d

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Cir. 1999); Hudson v. Fischer, No. 06 Civ.1534 (TJM), 2008 U.S. Dist. LEXIS 97711, at *13-

15(N.D.N.Y. December 2, 2008).          Generally, “isolated remarks or occasional episodes of

harassment will not merit relief under Title VII; in order to be actionable, the incidents of

harassment must occur in concert or with a regularity that can reasonably be termed pervasive.”

Tomka v. Seiler Corp., 66 F.3d 1295, 1305 n.5 (2d Cir. 1995) (overruled on other grounds by

Faragher). See also, Romano v. Stora Enso Corp., No. 07 Civ. 4293 (NGG), 2010 U.S. Dist.

LEXIS 24937, *54, *58-59 (E.D.N.Y. February 10, 2010)(“to be actionable, defendants' conduct

must have been so severe and pervasive as to create a ‘poisoned’ atmosphere in which the

employee must run a gauntlet of sexual abuse in order to perform her job.”).           Critically

important, the alleged conduct must be both objectively and subjectively offensive, such that

a reasonable person would find the behavior hostile or abusive, and such that the Plaintiff

herself did, in fact, perceive it to be so. See Harris, 510 U.S. at 21-22.

       Based on these standards, Plaintiff cannot establish the existence of a "hostile

work environment" actionable under Title VII. The majority of the allegedly problematic

behavior occurred via electronic communications, with the allegations of “touching” relating to

episodic, infrequent behavior during the isolated business trips where Plaintiff and Romer were

together. The e-mails and telephone calls, which D’Angelo portrayed as constant, traversed

over three thousand miles, and the content, at best was flirtatious, and certainly not even

remotely similar to the type of conduct dismissed as insufficient by other courts. Moreover,

D’Angelo cannot sustain her burden of establishing that the frequency of the contact was on

account of sex or gender, as opposed to Romer’s known managerial style.

       For example, in Quinn v. Green Tree Credit Corp., 159 F.3d 759, 763, 768 (2d Cir. 1998),

plaintiff alleged she had been subjected to more than 30 separate incidents of sexual harassment.

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The incidents consisted primarily of sexual comments to her by her supervisor concerning his

sexual prowess and her body parts, including that that she had been voted the “sleekest ass” in

the office. Plaintiff also alleged that her supervisor had deliberately touched her breasts with paper.

The Second Circuit affirmed the lower court's grant of summary judgment, holding that plaintiff

had not been subjected to sufficiently pervasive or severe abuse to alter the conditions of her

employment. A legion of more recent district court decisions have underscored the Quinn

rationale, granting summary judgment where the subject conduct, much more egregious than that

conduct alleged here by D’Angelo, was deemed insufficient to be actionable. Illustrative are the

decisions in Martires v. State of Conn. Dep’t of Transportation, 596 F.Supp. 2d 425, 442-43 (D.

Conn. 2009)(summary judgment granted on allegations that (1) supervisor propositioned plaintiff

for sex; (2) supervisor intentionally bumped into plaintiff; (3) on occasion supervisor rubbed up

against plaintiff while walking); Richards v. New York City Dep't of Homeless Servs., No. 05

Civ. 5986 (DLI), 2009 U.S. Dist. LEXIS 20410, *18-19 (E.D.N.Y. March 15, 2009)(allegations

that harasser “told [plaintiff] that he needed a ‘real woman,’” (ii) touched his buttocks twice, (iii)

came in close physical proximity to him on several occasions, and (iv) assigned him unfavorable

tasks, such as bathroom cleaning did not constitute a hostile work environment); Morris v. Ales

Group USA, No. 04 Civ. 8239 (PAC), 2007 U.S. Dist. LEXIS 47674, *33-34 (S.D.N.Y. June 29,

2007) (granting summary judgment in favor of defendant where harasser told plaintiff he enjoyed

watching topless dancing, invited her to join him in watching topless dancing, and “constantly

touch[ed] [plaintiff], e.g. grabbing [her] by the hand to lead [plaintiff] into his office for a meeting,

hugging [her], and wanting to cheek-kiss when [they] met or parted”); Durant v. A.C.S. State &

Local Sols. Inc., 460 F. Supp. 2d 492, 497-98 (S.D.N.Y. 2006) (granting summary judgment in

defendant’s favor and holding that offensive jokes, a comment by a supervisor regarding her sex

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life, and two requests for sex did not rise to the level of a hostile work environment); Feliciano v.

Alpha Sector, Inc., No. 00 Civ. 9309 (AGS), 2002 U.S. Dist. LEXIS 12631, at *23 (S.D.N.Y.

July 12, 2002) (supervisor's alleged actions of unwelcome romantic overtures toward plaintiff

that included compliments, requests for dates, an attempt to hug her, kissing her, stating he

wanted to “lay with” her, and “constantly yelled” at her did not constitute actionable offenses

under Title VII); O'Dell v. Trans World Entertainment Corp., 153 F.Supp.2d 378, 386-88

(S.D.N.Y. 2001), aff'd, 40 Fed. Appx. 628 (2d. Cir. July 16, 2002) (summary judgment granted

where supervisor repeatedly asked plaintiff out on dates, made comments about her

appearance, sent her emails professing his love for her, called her at work and home, gave her

gifts, invited her to tour New York City with him, and played her a song that alluded to an

extramarital affair that she found offensive).

       Most compelling in determining the severe, pervasive and unwelcome nature of the

subject communications, Plaintiff actively participated in and initiated numerous

communications with Romer of a personal and sexual nature, demonstrating the fact that she

was neither offended, nor that the conduct was unwelcome. As set forth in detail above,

D’Angelo’s own statements unequivocally reveal that these conversations did not become

“unwelcome” until she knew she was not being promoted. (D’Angelo Dep. pp. 39-40, 62-

64, 130, 133) Indeed, an employee who sends a joke image of a man putting his penis into a

mammogram machine, along with making her own jokes about her picking up men, such as

paying for her trip to California with her good looks and needing to find a rich husband, can

hardly be said to be offended by sexual banter by Romer, even if Romer was smitten with

her. (Exhibit H; D’Angelo Dep. pp. 109-35, 141-46, 150-53). Given these undisputed facts,



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such feigned offense to Romer’s e-mails after resigning from the WWE rings hollow 6. See

Sacco v. Legg Mason Inv. Counsel & Trust Co., N.A., 660 F. Supp. 2d 302, 315 (D. Conn.

2009)(“[t]hat [plaintiff] participated in conduct of the same general variety [including

sending e-mails with sexually suggestive content] cuts against her claim that [defendant]

engaged in behavior that she perceived to be abusive.”) In sum, based on the wealth of

judicial precedent presented, it is clear that Plaintiff’s showing falls far short of sustaining her

burden of proof.

                 ii       Even If Romer’s Actions Were Tantamount to Sexual Harassment,
                          Plaintiff’s Claims are Barred


        Even if this Court deems the conduct of which D’Angelo complains to constitute

actionable sexual harassment, it must nevertheless be dismissed as no tangible employment

action was taken and it is undisputed that: (a) the employer exercised reasonable care to prevent

and correct promptly any sexually harassing behavior; and (b) Plaintiff was unreasonable in not

taking advantage of the corrective opportunities provided by WWE. Faragher, 524 U.S. at 807;

Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 765 (1998); Canales-Jacobs v. New York State

Office of Court Admin., 640 F. Supp. 2d 482, 502 (S.D.N.Y. 2009).

        A “tangible employment action” is a significant change in employment status, such as

hiring, firing, failing to promote, reassignment with significantly different responsibilities, or a

decision causing a significant change in benefits. See, e.g., Vazquez v. Southside United Hous.

Dev. Fund Corp., No. 06 Civ. 5997 (NGG), 2009 U.S. Dist. LEXIS 74480, *50-51 (E.D.N.Y.

August 18, 2009). To the extent that D’Angelo relies on her claim that she was constructively


6
 It bears repeating that D’Angelo concedes that even after the alleged harassment began she sought a promotion
within her department wherein she would still be reporting to Romer. (D’Angelo Dep. at pp. 39-41, 62-63) Query
why, if the work environment was so hostile, that D’Angelo would want to continue working for her alleged
harasser.
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discharged, her claim fails as a constructive discharge solely based upon a hostile work

environment does not qualify as a tangible employment action sufficient to negate the result of a

Faragher/Ellerth defense. See Finnerty v. Sadlier, 2006 U.S. App. LEXIS 8620, at *6-7 (2d Cir.

April 7, 2006) (“we have decided that even a constructive discharge resulting from a hostile

work environment does not constitute a tangible employment action because generally a

constructive discharge, like harassment itself, is not ratified by the employer”)(internal

quotations omitted); Caridad v. Metro-North Commuter Railroad, 191 F.3d 283, 294 (2d. Cir.

1999), overruled on other grounds. Accord, Pennsylvania State Police v. Suders, 542 U.S. 129,

148-49 (2004). See also Stofsky v. Pawling Central School District, 635 F. Supp. 2d 272, 295

(S.D.N.Y. 2009)(noting that “the alleged constructive discharge does not rank as a tangible

employment action for purposes of negating a Faragher/Ellerth defense.”)(internal citations and

quotation marks omitted).

       Moreover, it is undisputed that D’Angelo concedes that submission to sexual conduct

was not a condition of employment. (D’Angelo Dep. p. 150)(stating that she did not believe she

would be fired if she did not engage in sexual banter with Romer). See Finnerty, 2006 U.S. App.

LEXIS 8620, at *7 (noting employee’s claim of constructive discharge is not a tangible

employment action as employee “does not contend that [her harasser] explicitly threatened her

with termination or otherwise formally altered or threatened to alter her job responsibilities if she

did not submit to his advances.”) In any event, even if a factual allegation of constructive

discharge can form the basis of finding a tangible employment action occurred, it clearly cannot

do so here for those reasons set forth in Section B, below.

       Second, it is undisputed that the WWE promulgated, and D’Angelo received, a

sexual harassment policy which provided an avenue for employees to file complaints of

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harassment. (Exhibit D; D’Angelo Dep. p.78) See Caridad, 151 F.3d at 295. It is equally

undisputed that after hearing D’Angelo’s allegations for the first time (a conversation which

WWE’s Human Resources department initiated, not D’Angelo-D’Angelo Dep. pp. 221-23),

WWE immediately investigated, and took prompt corrective action, which included the

expedited termination of Romer’s employment before D’Angelo left. (D’Angelo Dep. pp.

83-84, 221-24) Thereafter, WWE informed D’Angelo of its actions, asked D’Angelo to

rescind her resignation, and offered D’Angelo a promotion and a raise. (Id.) D’Angelo

refused (i.e., refused to avail herself of WWE’s remedial actions), opting instead to take

another position at the higher salary. (Id. at p.87). These undisputed facts should be fatal to

D’Angelo’s claim, even if this Court deems Romer’s alleged conduct to be sufficiently

actionable 7. Sutton v. New York City Transit Auth., No. 02 Civ. 1441 (RRM), 2009 U.S.

Dist. LEXIS 118309, *16 (E.D.N.Y. September 30, 2009)(concluding defendant proved its

Faragher/Ellerth defense as it “is undisputed that the [defendant] had a system in place to

investigate and address discrimination claims (including sexual harassment claims), that

plaintiff properly filed a complaint, and that the problem was immediately and permanently

corrected.”)

                  iii      D’Angelo’s Failure to Utilize the Complaint Procedure is Not Excused
                           by Her Allegations of Constructive Knowledge, Even if True

         Recognizing WWE’s compliance with each of its obligations, D’Angelo attempts to


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  D’Angelo attempts to persuade the Court that she did not accept the promotion and raise because “her reputation
was ruined”, an assumption “that because of what [she] went through that my future career at the company would be
very challenging”, and because people at the WWE were “treating her differently”. (D’Angelo Dep. pp. 85-87).
First, such vague and conclusory statements are insufficient, as a matter of law, to excuse her failure to accept the
remedial measures. Breeding v. Cendant Corp., No. 01 Civ. 11563 (GEL), 2003 U.S. Dist. LEXIS 6558, at *21
(S.D.N.Y. April 10, 2003). Second, the alleged different treatment consisted of people expressing sympathy
towards D’Angelo and her perception that people “pitied” her—clearly not a rational basis for refusing to stay.
(D’Angelo Dep. pp. 85-87) Finally, and most critical, D’Angelo’s real reason for leaving despite the offer is
revealed by her own statements to Yamuder and on the exit interview form completed following her meetings with
Human Resources; i.e., to take a higher salary. (Yamuder Dep. pp 67-68; Exhibit N)
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resurrect her action by asserting WWE had constructive notice prior to her resignation by

virtue of what other employees saw or heard. To this end, Plaintiff relies solely on the

conversations she allegedly had with Satin, Schneider, Archer, Richards, Clifford and

Yamuder as detailed above, and the November 2005 and April 2006 tour incidents.

However, even taking her testimony as true, none of these allegations are sufficient to

impute WWE with prior knowledge of sexual harassment. Again, in this regard, D’Angelo

only recaps generic statements to certain management level employees and describes

isolated incidents they allegedly observed which do not sufficiently suggest sexual behavior.

         As far as the incident Archer discussed with Hawks, and then D’Angelo, no reasonable

juror could conclude that this conversation should have put Archer on notice of sexual

harassment. The most one could assert is that Archer thought, on one occasion, Romer put his

hands on D’Angelo’s waist, and offered to talk to Romer about it as sort of an act of chivalry.

D’Angelo declined that offer outright, and never suggested to Archer anything to counteract

Archer’s clear impression this incident was a “one-time” thing. (D’Angelo Dep. pp. 210-15;

Exhibit K at ¶5)

         Likewise, neither the April 2006 nor the other two incidents allegedly witnessed by

Satin and Schneider could be deemed to have provided WWE with actual or constructive

notice8. First, these incidents were not overtly sexual. (D’Angelo Dep. pp. 97, 137-41, 185-

89; Exhibits F and G: “[n]othing [they] witnessed in the bar led [them] to believe that there was

any improper behavior on the part of Alex Romer towards Ms. D’Angelo, nor did [they]

witness behavior that was ‘sexually possessive’”-Satin Aff. at ¶4; Schneider Aff. at ¶4) Again,

D’Angelo offers nothing to contradict these affidavits and the perception shared by Satin and

8
 One incident of this type is clearly insufficient in itself to put WWE on notice of sexual harassment. Weger v. City
of Ladue, 500 F.3d 710, 714-15, 722-23 (8th Cir. 2007).
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Schneider.       Such observations, even viewed in a light most favorable to Plaintiff, are

patently insufficient, especially given the reputation Romer had with respect to his obsessive

managerial style, to establish actual or constructive notice that D’Angelo was being sexually

harassed. (See, e.g., Exhibits F and G) 9

           It is well settled that “generalities are not enough to put an employer on notice” of

sexual harassment. Schmidt v. State University of New York at Stonybrook, No. 02 Civ. 6083

(SLT), 2006 U.S. Dist. LEXIS 27663, at *39 (E.D.N.Y. May 5, 2006). In Schmidt, the

employer asserted a Faragher/Ellerth defense as the employee waited to complain about the

alleged sexual harassment until well after the harassment occurred.                     After the employee

complained, the employer took prompt corrective action, which included initiating steps to

terminate the harasser’s employment. Schmidt, 2006 U.S. Dist. LEXIS 27663 at *38-41. The

employee attempted to overcome her failure to complain in a timely manner by insisting that

she had earlier complained to a supervisor that she was “uncomfortable” with the alleged

harasser who was “overbearing.” The District Court concluded that such vague statements fell

“short of establishing constructive notice of the harassment.”                   Id.   See also Duviella v.

Counseling Serv., No. 00 Civ. 2424 (ILG), 2001 U.S. Dist. LEXIS 22538 at *9-11, *40

(E.D.N.Y. November 20, 2001) (complaints that: (1) plaintiff was “uncomfortable” with

working with the alleged harasser; (2) plaintiff was experiencing unspecified “problems” with

him; (3) the alleged harasser would not let plaintiff change her work schedule; and (4) general

comments that the alleged harasser “has no scruples”, was not an honest person and acted

“inappropriately”, did not provide constructive notice to the employer sufficient to defeat a

Faragher/Ellerth defense), affirmed 52 Fed. Appx. 152, 153 (2d. Cir. 2002).                        It bears


9
    Furthermore, it bears repeating that Hawks was not a management level employee.
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highlighting that the Duviella case involved an actual complaint to a supervisor—something

D’Angelo admits she did not ever do before her resignation. (D’Angelo Dep. p 79).

        In any event, courts have consistently held that supervisors witnessing isolated

incidents of even more explicit sexual conduct do not result in constructive knowledge by the

employer of actionable sexual harassment. See Weger v. City of Ladue, 500 F.3d 710, 714-15,

722-23 (8th Cir. 2007)(fact that some supervisors witnessed the alleged harasser: (1) putting

his arm around the plaintiff and leaning close into her face; (2) putting his arms around the

plaintiff’s waist and attempting to tickle her; (3) following plaintiff around; and (4) rubbing

plaintiff’s shoulders while plaintiff grimaced, did not put the employer on notice of the

harassment prior to plaintiff’s formal complaint of harassment, nor otherwise defeat the

Faragher/Ellerth defense.)10.

        Finally, D’Angelo’s claim she confided in Yamuder cannot impute knowledge to

WWE. First, it is undisputed that D’Angelo failed to ever “complain” to Yamuder about

Romer, but rather, spoke in generalities with her in a social context--as a friend. (D’Angelo

Dep. pp. 170, 217). It is equally undisputed that D’Angelo never asked Yamuder to take any

action. (D’Angelo Dep. p. 79) See Madray v. Publix Supermarkets, Inc., 208 F.3d 1290, 1301

(11th Cir. 2000)(approaching mid-level managers about harassment not in their “professional

capacity” does not provide notice to employer). Cf. Duch v. Jakubek, 588 F.3d 757, 763-64

(2d Cir. 2009)(in the context of co-worker harassment, complaint of sexual harassment to co-

worker who was also the EEO liaison, did not create constructive knowledge where employee

asked co-worker not to report the alleged harassment to harasser’s supervisor.)
10
   It should be noted that D’Angelo claims that two individuals who provided security for the WWE on oversees
trips also witnessed unidentified incidents of alleged harassment. (D’Angelo Dep. 209-10.) Security is provided for
the WWE by outside vendors who are neither employees nor management of the WWE (D’Angelo Dep. p. 230) and,
thus , such alleged knowledge cannot be imputed to the WWE. Moreover, Plaintiff failed to provide any details of
what these individuals allegedly witnessed.
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       In particular with respect to the question of Yamuder’s knowledge, rulings issued in the

context of determining when an employer has constructive knowledge of co-worker sexual

harassment so as to impute liability to that employer are analogous and instructive.          As

explained by the Second Circuit “[a]n official’s actual or constructive knowledge of

harassment will be imputed to the employer when principles of agency law so dictate. That

will be the case where a) the official is at a sufficiently high level in the company’s

management hierarchy to qualify as a proxy for the company, or b) the official is charged with

a duty to act on the knowledge and stop the harassment, or c) the official is charged with a duty

to inform the company of the harassment.” Duch, 588 F.3d at 763; See also Hudson v. Proctor

& Gamble Paper Products, Corp., 568 F.3d 100, 107 (3d Cir. 2009).              An employee is

significantly high enough in management when the employee has the authority to counsel,

investigate or fire the accused harasser. Hudson, 568 F.3d at 107(holding that to be senior

enough in the governing hierarchy “the employee usually has the authority to act on behalf of

the employer to stop the harassment, for example, by disciplining the employees or by

changing their employment status or work assignment.”) As aptly noted by the Third Circuit

“‘management’ in this context means the collective body of those who manage or direct an

enterprise or interest: the board of managers; employer representation in an employer-

employee relationship opposed to labor. Thus in requiring that a ‘management level’ employee

have knowledge as a pre-requisite to imputing that knowledge to the employer, we require this

knowledge to have reached an employee in the governing body of the entity, as opposed to

merely a supervisory employee in the labor force.” Hudson, 568 F. 3d at 108.

       Applying these cases, Yamuder, despite holding an in-house counted position, simply

does not qualify as management. Yamuder was neither Plaintiff’s nor Romer’s supervisor, nor

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was she otherwise in a position to discipline Romer or make any changes to D’Angelo’s

working environment. (D’Angelo Dep. p. 220; Yamuder Dep. p. 103) Thus, Yamuder’s

knowledge cannot be imputed to the WWE even if there is a question regarding her
                                                                                               11
observations and alleged remark about Romer being “in love” with D’Angelo.                          See Duch,

588 F.3d at 763; Hudson, 568 F.3d at 107-09. This holds true especially because even this

perception is not equivalent to an admission of or recognition that D’Angelo was enduring

hostile environment, sexual harassment. See Duviella, 2001 U.S. Dist. LEXIS 22538 at *9-11,

*40.

                 iv       D’Angelo’s Failure to Utilize the Complaint Procedure is Further Not
                          Excused by Her Vague Alleged Fear of Retaliation

        Finally, D’Angelo excuses her failure to follow the prescribed internal complaint

procedure on an unsupported and generic fear of retaliation. Initially, such testimony suggests

that D’Angelo was waiting to resign to complain. Yet, noteworthy again, D’Angelo did not

initiate any complaint, even after her notice of resignation. Rather, she was approached by

Human Resources after Human Resources spoke to Yamuder about two allegedly negative

interactions she heard D’Angelo had with Romer. (Yamuder Dep. pp. 67-68) Second, her

articulated reasons for this fear were comprised solely of gossip about individuals she could not

even identify. (D’Angelo Dep. 79-80). Third, her reference to Yamuder should be outright

rejected, as Yamuder did not complain about her supervisor until after D’Angelo resigned from

WWE.

        While fear of retaliation may, under very specific circumstances, excuse an employee

from complaining, and thus, defeat a Faragher/Ellerth defense, the Second Circuit has held that

11
  Further, as already outlined above, the majority of the information provided to Yamuder by D’Angelo consisted
of generic statements that Romer would constantly try to contact D’Angelo, and that he would seek out other
individuals including Yamuder to locate D’Angelo when he could not reach her.
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an employee's reluctance to avail herself of preventive or corrective opportunities must be based

on a “credible fear” of retaliation. See Leopold v. Baccarat, Inc., 239 F.3d 243, 246 (2d Cir.

2001); Brewster v. City of Poughkeepsie, 447 F. Supp. 2d 342, 354-56 (S.D.N.Y. 2006). “A

credible fear must be based on more than the employee's subjective belief. Evidence must be

produced to the effect that the employer has ignored or resisted similar complaints or has taken

adverse actions against employees in response to such complaints.” Leopold, 239 F.3d at 246.

A claim that “a co-worker’s vague and ambiguous complaint was not taken seriously” is not

enough to excuse the employee’s obligation to complaint. Id. Likewise, a general fear that the

employer would not take corrective action or that complaining would impact the employee’s job

is not enough to create a credible fear. See Caen v. Medina, 537 F. Supp. 2d 471, 476-77

(S.D.N.Y. 2008); Brewster, 477 F. Supp. 2d at 35-56; Breeding v. Cendant Corp., No. 01 Civ.

11563 (GEL), 2003 U.S. Dist. LEXIS 6558, at *21 (S.D.N.Y. April 10, 2003) (claim that

“creating any kind of waves could cause retaliation or hurt her opportunities” not enough to

excuse failure to complain.)

       As a matter of law, D’Angelo’s patently vague statements about unidentifiable claimants

(from hearsay and gossip), as well as a statement about a complainant whose situation did not

arise under after D’Angelo left WWE, are insufficient to support a fear of retaliation that would

excuse her lack of complaint. Leopold, 239 F.3d at 246.

   B. D’Angelo Was Not Constructively Discharged

       Plaintiff alleges that she was constructively discharged from her employment in violation

of Title VII. (Amended Complaint ¶77) Yet again, Plaintiff has failed to state an actionable

claim. First, Plaintiff’s departure from WWE was of her own volition by resigning to accept a

position with another employer for a higher salary, certainly not a “deliberate” act on

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Defendant’s part. Second, WWE’s treatment of Plaintiff cannot even remotely be described as

intolerable. Third, Plaintiff had other options available to her, rather than resigning.

       In order to state an actionable claim of constructive discharge, a plaintiff must allege two

elements. First, Plaintiff must show that the defendant acted “deliberately” to create an

intolerable work environment. Pena v. Brattelboro Retreat, 702 F.2d 322, 325 (2d Cir. 1983);

Martin-Glave v. Aventis Pharms., No. 03 Civ. 1482 (EBB), 2007 U.S. Dist. LEXIS 939, at

*25 (D. Conn. January 8, 2007). “Deliberateness exists only if the actions complained of ‘were

intended by the employer as an effort to force the employee to quit.’”                Lombardo v.

Oppenheimer, 701 F.Supp. 29, 30-31 (D. Conn. 1987) (citations omitted). See also, Lucas v.

Potter, No. 08 Civ. 480 (HBF), 2010 U.S. Dist. LEXIS 2255, at *38-9 (D. Conn. January 11,

2010). The second element requires a showing that the working conditions were “so difficult

or unpleasant that a reasonable person in the employee’s shoes would have felt compelled to

resign.” Pena, 702 F.2d at 325; see also Lee v. Sony Bmg Music Entm't, Inc., No. 07 Civ. 6733

(CM), 2010 U.S. Dist. LEXIS 19481, at *25 (S.D.N.Y. March 3, 2010). An employee’s

subjective opinion that the working conditions were “intolerable” is not sufficient to establish

this element. Leson v. Ari of Conn., 51 F. Supp. 2d 135, 142-43 (D. Conn. 1999). See also,

Cooper v. Wyeth Ayerst Lederle, 106 F. Supp. 2d 479, 496 (S.D.N.Y. 2000).

       The standard for constructive discharge is not an easy one to satisfy. See, e.g., Martin

v. Citibank, 762 F.2d 212, 221 (2d Cir. 1985). See also, Borski v. Staten Island Rapid Transit,

No. 04 Civ 3614 (SLT), 2009 U.S. Dist. LEXIS 103347, at *23-26 (E.D.N.Y. October 28, 2009);

Sedotto v. Borg-Warner Protective Services Corp., 94 F. Supp. 2d 251, 262 (D. Conn.

2000). In this regard, the Second Circuit has held that a constructive discharge cannot be

established through evidence that the employee’s supervisor had created working conditions

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that were merely “difficult” or “unpleasant.” Lucas v. South Nassau Communities Hospital, 54

F.Supp.2d 141, 149 (E.D.N.Y. 1998); Martin, 762 F.2d at 221.                            Indeed, a working

environment can be far from perfect and yet will not be held to be “intolerable.” See Cooper,

106 F. Supp. 2d at 496; Martin, 762 F.2d at 221. Plaintiff here does not even come close to

meeting this stringent standard. In fact, Plaintiff’s constructive discharge claim is based upon

the same facts as her hostile work environment claim.                      (Amended Complaint at ¶77:

“Plaintiff was constructively discharged from her employment due to the hostile environment

created by Defendant’s acts and omissions)                 However, “both the Supreme Court and the

Second Circuit have emphasized that a constructive discharge claim must entail something more

than what is required for an ordinary sexual harassment hostile-environment claim.” Lupacchino

v. ADP, Inc., No. 02 Civ. 2281 (MRK), 2005 U.S. Dist. LEXIS 1687, at *17-18 (D. Conn.

January 21, 2005). See also Fiore v. Fairfield Bd. of Educ., No. 07 Civ. 00926 (CFD), 2009 U.S.

Dist. LEXIS 79676, at *17-18 (D. Conn. September 1, 2009). For this reason alone, Plaintiff’s

claim fails.

        Moreover, Plaintiff has not alleged one fact that would indicate that WWE deliberately

set out to create arduous working conditions that would have caused a reasonable person in her

position to resign.12 To the contrary, it is undisputed that once WWE was apprised of the

alleged sexual harassment, it proceeded expeditiously to investigate and remedy the situation,

which included the termination of Romer’s employment before Plaintiff’s last day of work, and

the offer to Plaintiff of a promotion and raise in salary which Plaintiff refused. These undisputed

facts are likewise fatal to a constructive discharge claim. See Mack v. Otis Elevator Co., 326

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  Generally, constructive discharge is found where the employer has made clear and unequivocal remarks to the
employee threatening termination, demotion, or a change in job status. See, e.g., Equal Employment Opportunity
Commission v. Die Fleidermaus, 77 F.Supp.2d 460, 471 (S.D.N.Y. 1999). Here, there is no evidence that WWE
expressed, either explicitly or implicitly, that it intended to force Plaintiff to resign.
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F.3d 116, 128 (2d. Cir. 2003) (upholding grant of summary judgment concluding that employee

could not establish she was constructively discharged as employer took prompt remedial action

to address employee’s claims of harassment); Pasternak v. Baines, No. 00 Civ 0369C, 2006 U.S.

Dist. LEXIS 62898, at *18 (W.D.N.Y. September 1, 2006)(“An employee who fails to explore

alternative avenues offered by her employer before concluding that resignation is the only option

cannot make out a claim of constructive discharge”)(citations omitted); Cooper, 106 F.Supp.2d

at 496-97 (“[b]cause Plaintiff herself refused to explore the employer’s proposed remedy for the

situation she found intolerable, I must grant [defendant’s] motion for summary judgment); Lee-

Crespo v. Schering- Plough Del Caribe, Inc., 354 F.3d 34, 45-46 (1st Cir. 2003) (prompt

remedial action that eliminated the intolerable working conditions, such as moving the employee

away from the alleged harasser, negated a claim that the employee was forced to resign due to

intolerable working conditions).

       Plaintiff resigned to accept a position at Sherwin Williams at a higher salary, evincing

her true motivation for resigning. See Zephyr v. Ortho McNeil Pharm., 62 F. Supp. 2d 599, 609

(D. Conn. 1999)(“when [plaintiff] resigned from OMP he had already accepted a salesperson

position with a rival pharmaceutical company that paid a significantly higher base salary

…While not relevant to his working conditions at OMP, this undisputed fact is pertinent to why

[plaintiff] left OMP and further undermines his claim of constructive discharge.”)              As

previously noted as well, on her exit interview form and in statements to several WWE

employees, D’Angelo never indicated that was resigning due to the alleged hostile work

environment.    To the contrary, D’Angelo stated in her own handwriting and in these

conversations that she resigned to accept a better opportunity with a better salary and a better

location. (Exhibit N) In sum, Plaintiff cannot establish that her working conditions were so

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intolerable that she had no option other than resignation.

                             IV.     CONCLUSION

       The undisputed record reveals that D’Angelo availed herself of one thing—not WWE’s

clearly articulated complaint procedure, but rather, her perception of Romer’s attraction to her

because it might work to her advantage and secure a promotion (potentially still reporting to

Romer). When the promotion seemed to not be happening, she looked outside of WWE for

jobs paying more. She obtained one, even before the final, series of “troublesome” incidents in

April of 2006. D’Angelo had no intention of utilizing the complaint procedure well known to

her, and even at the end, Human Resources had to seek her out for the details. This deliberate

failure to report the so-called offensive behavior was not due to any fear of retaliation, but

rather, because D’Angelo was neither offended nor troubled by any of it, and even welcomed

it. WWE undertook a prompt investigation, terminated Romer’s employment, and offered

D’Angelo a promotion and raise, all within the ten days notice period she gave to WWE of her

intended resignation. She refused, and even when she had nothing to fear and all allegations

were out in the open, D’Angelo put on her exit interview form that she was leaving WWE for a

higher paying job, as well as making the same statement to her friend, Yamuder, and to Fisher

from Human Resources.

       Now, D’Angelo asks this Court to agree with her that a reasonable jury, on this record,

could find in her favor that she was sexually harassed, constructively discharged, and that she

deserves damages despite her own negligence in failing to complain, the numerous

opportunities to complain even outside the Human Resources department’s procedure, and

despite WWE’s aggressive efforts to keep her employed.

       Consequently, based on the foregoing, even if the allegations contained in Plaintiff’s

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Amended Complaint and her deposition testimony are true, Defendant has unequivocally

established the absence of any genuine issue of material fact as to Plaintiff’s sole cause of

action. Accordingly, Defendant respectfully requests that its Motion for Summary Judgment

be granted in its entirety.



                                           DEFENDANT,
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                                CERTIFICATE OF SERVICE

       This will certify that, on April 19, 2010, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by email to all parties listed below by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s CM/ECF System.

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